Case 2:03-CV-02006-.]DB Document 28 Filed 05/11/05 Page 1 of 2 Page|D 51

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IN THE I)ISTRICT COURT J y
WESTERN DISTRICT OF TENNESSEE 05 f"i,l‘l`f l l §Fi l!= 10

WESTERN DIVISION
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r"‘i rims §i--’: p;g»¥-_ CT_
BARRY MCPHERSON

Plaintiff Case # 2:03 CV 2006 B/An

V.

FEDERAL EXPRESS C()RP.
Defendant

 

ORDER GRANTING MOTION FOR EXTENSI()N OF TIME
FOR DISCOVERY AND DISPOSITI()NAL MOTIONS BY CONSENT

 

all
Before the Court on the l 0 day of M 23 , 2005 came on to be heard

the consent motion of the parties. The Court, having heard said Motion does hereby
find that it is well taken and should be sustained. The deadline for Discovery and
Dispositional Motions is extended to July 30, 2005.

lt is, therefore, ORDERED, that the Motion for Extension of time for Discovery

and Dispositional Motions be hereby grmULB/L/\
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This notice confirms a copy of the document docketed as number 28 in
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Honorable J. Breen
US DISTRICT COURT

